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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

DEMITRIUS R. WHITFIELD,                        )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )      Civil Action No. 25-0231 (UNA)
                                               )
                                               )
McPHERSON HOSPITAL,                            )
                                               )
                Defendant.                     )

                                  MEMORANDUM OPINION

       This matter is before the court on plaintiff’s application to proceed in forma pauperis, ECF

No. 2, pro se complaint, ECF No. 1, and motion to appoint counsel, ECF No. 4. The Court grants

the application, dismisses the complaint, and denies the motion as moot.

       The Court holds a pro se complaint to a “less stringent standard[]” than is applied to a

pleading drafted by a lawyer. Haines v. Kerner, 404 U.S. 519, 520 (1972). Still, a pro se litigant

must comply with the Federal Rules of Civil Procedure. Jarrell v. Tisch, 656 F. Supp. 237, 239

(D.D.C. 1987). Rule 8(a) of the Federal Rules of Civil Procedure requires that a complaint contain

a short and plain statement of the grounds upon which the court’s jurisdiction depends, a short and

plain statement of the claim showing that the pleader is entitled to relief, and a demand for

judgment for the relief the pleader seeks. Fed. R. Civ. P. 8(a). It “does not require detailed factual

allegations, but it demands more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotations omitted). The Rule 8

standard ensures that defendants receive fair notice of the claim being asserted so that they can

prepare a responsive answer, mount an adequate defense, and determine whether the doctrine of

res judicata applies. See Brown v. Califano, 75 F.R.D. 497, 498 (D.D.C. 1977).
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        The Court dismisses the complaint for the simple reason that there are no factual

allegations. The “Statement of Claim” section states “Rule 4. Preliminary Consideration,” Compl.

at 4, and although plaintiff refers to an attachment, see id. at 5, there is none.

        Because the complaint falls well short of Rule 8’s minimal pleading standard, the Court

will dismiss it without prejudice. A separate order accompanies this Memorandum Opinion.



DATE: February 18, 2025                                 /s/
                                                        RUDOLPH CONTRERAS
                                                        United States District Judge




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